CM/ECF-GA Northern District Court                                 https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?217491758623318-...
                          Case 1:19-cv-00549-AT Document 129 Filed 06/21/22 Page 1 of 2




                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
                                                    1:19-cv-00549-AT
                                                 Dalcoe v. New Prime, Inc.
                                                 Honorable Amy Totenberg

                                Minute Sheet for proceedings held In Open Court on 06/21/2022.


              TIME COURT COMMENCED: 09:30 A.M.
                                                                 COURT REPORTER: Shannon Welch
              TIME COURT CONCLUDED: 05:00 P.M.
                                                                 CSO/DUSM: 1 CSO
              TIME IN COURT: 6:30
                                                                 DEPUTY CLERK: Harry Martin
              OFFICE LOCATION: Atlanta

         ATTORNEY(S)                Chauncey Barnwell representing Monisha Dalcoe
         PRESENT:                   Elizabeth Bentley representing New Prime, Inc.
                                    William Casey representing New Prime, Inc.
         PROCEEDING
                                    Jury Trial Continued;
         CATEGORY:
         MINUTE TEXT:               Defendant Case-in-chief continues. Defense rests. Closing Argument.
         HEARING STATUS:            Hearing not concluded. Court adjourned and will reconvene at 09:30 AM
                                    on Wednesday, June 22, 2022.
         EXHIBIT STATUS:            Exhibits retained by the Court to be forwarded to the Clerks Office.




1 of 2                                                                                                            6/22/2022, 5:20 PM
CM/ECF-GA Northern District Court                         https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?217491758623318-...
                          Case 1:19-cv-00549-AT Document 129 Filed 06/21/22 Page 2 of 2




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